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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


JAMES E. BERNARD, JR.,

                 Plaintiff,
vs.                                                                          No.: 2:13-cv-2024-SHM-cgc

ILLINOIS CENTRAL RAILROAD COMPANY,

                 Defendant.


                                REPORT AND RECOMENDATION


        Before the Court, by way of Order of Reference 1 is the November 1, 2013 Motion to

Dismiss (D.E. # 26) filed by Defendant Illinois Central Railroad Company.

        Pursuant to Local Rule 12.1, the opposing party shall file a response within twenty-eight

(28) days after service of the motion. Plaintiff has failed to file a response to the motion.

        On February 6, 2014, the undersigned entered an order directing Plaintiffs to show cause

within fourteen days as to why the Court should not issue a Report and Recommendation that the

motion at D.E. # 26 be granted. To date, no response to the Order to Show Cause has been filed.

        If a plaintiff fails properly to prosecute an action, it can be dismissed either pursuant to

the Court's inherent power to control its docket, or involuntarily under Fed.R.Civ.P. 41(b). Link

v. Wabash R. Co., 370 U.S. 626, 82 S.Ct. 1386, 8 L.Ed.2d 734 (1962); Boudwin v. Graystone

Insurance Co., 756 F.2d 399 (5th Cir.1985). The Sixth Circuit has held that dismissal for failure

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           Administrative Order 2013-05 refers all cases filed by pro se non-prisoners to the assigned U.S.
Magistrate Judge for management of all pretrial matters including proposed findings and recommendations pursuant
to 28 U.S.C. § 636(b)(1)(B).

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to prosecute is warranted where the Court affords a plaintiff a reasonable period of time to

comply with orders before the dismissal occurs, see Harris v. Callwood, 844 F.2d 1254 (6th

Cir.1988); Sepia Enterprises, Inc. v. City of Toledo, 462 F.2d 1315 (6th Cir.1972) (per curiam).

       In determining whether to dismiss a complaint for failure to prosecute, the Court

generally looks to four factors for guidance: (1) whether the party's failure is due to willfulness,

bad faith, or fault; (2) whether the adversary was prejudiced by the dismissed party's conduct; (3)

whether the dismissed party was warned that failure to cooperate could lead to dismissal; and (4)

whether less drastic sanctions were imposed or considered before dismissal was ordered. Knoll v.

American Telephone & Telegraph Co., 176 F.3d 359, 363 (6th Cir.1999). Typically, none of the

factors is outcome dispositive, and dismissal is entrusted to the discretion of the Court. Id. It is

recommended that the first factor is met as it is Plaintiff’s fault for not prosecuting his case.

There has been no activity by Plaintiff since the Order granting his counsel’s motion to withdraw

on December 6, 2013. The Defendant has been prejudiced in that it has taken steps to further the

case without cooperation from Plaintiff (see D.E. #37 Memorandum in Support of Motion to

Dismiss, D.E. #38 Motion to Stay Scheduling Order). As to the third and fourth factors, it is

recommended that they weigh heavily against the Plaintiff. The Motion to Dismiss and Order to

Show Cause made it clear that dismissal of the case was under consideration by the Court. In

Plaintiff’s counsel’s Notice of Withdrawal (D.E. #34), Mrs. Brown notified Plaintiff of the

response deadline for the Motion to Dismiss, Plaintiff’s deposition date and the remaining dates

in the schedule for this case. Plaintiff had an opportunity to respond to the Motion and the Order

to Show Cause and possibly avoid dismissal. Plaintiff has ignored the Court’s orders and has

failed to meaningfully participate in the case. Dismissal is appropriate pursuant to the Court’s

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inherent power to control its docket.

       Accordingly, it is RECOMMENDED that the Plaintiff’s Complaint be involuntarily

dismissed with prejudice pursuant to Fed. R. Civ. P. 41(b) and the Court’s inherent power and

that the Motion to Dismiss be DENIED AS MOOT.



Signed this 29th day of April, 2014.


                                                  s/ Charmiane G. Claxton
                                                  CHARMIANE G. CLAXTON
                                                  UNITED STATES MAGISTRATE JUDGE


ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
FOURTEEN (14) DAYS AFTER BEING SERVED WITH A COPY OF THE REPORT. 28
U.S.C. § 636(b)(1)(C). FAILURE TO FILE SAID OBJECTIONS OR EXCEPTIONS
WITHIN FOURTEEN (14) DAYS MAY CONSTITUTE A WAIVER OF OBJECTIONS,
EXCEPTIONS, AND ANY FURTHER APPEAL.




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